

Hong Hui Kuang v Jie Wen Zhou (2023 NY Slip Op 02616)





Hong Hui Kuang v Jie Wen Zhou


2023 NY Slip Op 02616


Decided on May 16, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 16, 2023

Before: Kern, J.P., Friedman, Gesmer, Moulton, Rodriguez, JJ. 


Index No. 100253/20 Appeal No. 255 Case No. 2022-02113 

[*1]Hong Hui Kuang, Plaintiff-Appellant,
vJie Wen Zhou et al., Defendants-Respondents.


Hong Hui Kwang, appellant pro se.
The Law Offices of Perry Ian Tischler, P.C., Bayside (Perry Ian Tischler of counsel), for respondents.



Order, Supreme Court, New York County (Margaret Chan, J.), entered April 13, 2022, which denied plaintiff's motion for a default judgment against defendant Xiao Ming Yang, unanimously affirmed, with costs.
Plaintiff failed to demonstrate entitlement to a default judgment (see CPLR 3215[f]) because she attempted to serve Yang by priority mail at an attorney's office, which is insufficient as a matter of law (CPLR 308[1]-[4]). Furthermore, plaintiff could not properly submit "proof of the facts constituting the claim" (CPLR 3215[f]), since, as this Court previously held, "plaintiff was collaterally estopped from relitigating the issue of entitlement to the life insurance proceeds" that was the subject of a prior action in Supreme Court, Queens County, in which both plaintiff and Yang were parties, the "remaining allegations failed to state a claim," and to the extent that plaintiff might have otherwise stated any claim, the statute of limitations expired (Hong Hui Kuang v Jie Wen Zhou, 212 AD3d 579, 579-580 [1st Dept 2023]; see Honghui Kuang v MetLife, 197 AD3d 1101, 1102 [2d Dept 2021]; Honghui Kuang v MetLife, 159 AD3d 878, 879-882 [2d Dept 2018]).
We have considered plaintiff's remaining contentions and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 16, 2023








